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                       EXHIBIT 1
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                     SETTLEMENT AGREEMENT AND RELEASE

                                          SUMMARY

1.    This Settlement Agreement and Release (“Settlement” or “Settlement Agreement”) resolves
      all Fair Labor Standards Act (FLSA) claims asserted in Hall v. Dominion Energy, Inc., et al.

2.    Plaintiff John Hall and Defendants Dominion Energy, Inc. (“Dominion”), Virginia Electric
      and Power Company (“VEPCO”), and Strategic Contract Resources, LLC (“SCR”)
      (collectively, “The Parties”) agree to a total settlement of the following:

      a.     Gross Settlement Amount: Three Million Eight Hundred Thousand Dollars
             ($3,800,000.00)
      b.     Attorney Fees: One Million Three Hundred-Thirty Thousand Dollars ($1,330,000.00)
      c.     Costs and Expenses: One Hundred Thousand Dollars: ($100,000.00) – Capped.
      d.     Enhancement Award: Twenty Thousand Dollars ($20,000.00)
      e.     Reserve Fund: Two Hundred Eighty-One Thousand Ninety-One and 85/100 Dollars
             ($281,091.85)
      f.     Net Settlement Amount: Two Million Sixty-Eight Thousand Nine Hundred Eight and
             20/100 Dollars ($2,068,908.20)

3.    The Parties agree to request approval of the Settlement by the Court, and the Settlement is
      conditioned on the Court giving approval.

4.    As soon as the Settlement Agreement is signed, Dominion will begin to undergo reasonable
      efforts to gather and provide the Settlement Class Members’ names, phone numbers, email
      addresses, last known physical addresses, Social Security numbers, dates of employment, and
      updated payroll data, to a Settlement Administrator mutually agreeable to the Parties and Class
      Counsel. If a Staffing Vendor refuses to provide the necessary information, the Parties will
      seek assistance of the Court.

5.    The Parties agree to send a Notice Packet and Settlement Check to all Settlement Class
      Members through the Settlement Administrator.

6.    By depositing, endorsing, or otherwise negotiating the Settlement Check, each Participating
      Plaintiff shall release the Parties and the Staffing Vendors, as defined herein, from all FLSA
      and state wage and hour claims arising out of the time claimed to have worked for Dominion
      during the Class Period.

7.    Half of the Settlement Check shall be considered as wages earned by Settlement Class
      Members and paid via Internal Revenue Service (IRS) Form W-2 and the other half shall be
      considered as payment for non-wage penalties and liquidated damages via IRS Form 1099.

                                        DEFINITIONS

1.    The following terms used in this Settlement Agreement shall have the meanings ascribed to
      them below:

             a.      “Action” means John Hall, individually and on behalf of all similarly situated
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individuals, v. Dominion Energy, Inc., et al, at C.A. 3:18-cv-321 pending in the United States District Court
for the Eastern District of Virginia, Richmond Division.

              b.         “Approval Order” means the Court’s Order approving the Settlement and
entering judgment.

              c.       “Class Counsel” means Josephson Dunlap LLP; Bruckner Burch, P.L.L.C.;
and Butler Royals, PLC.

                d.       “Class Period” means the period from May 14, 2015 through July 30, 2019.

               e.     “Court” means the United States District Court for the Eastern District of
Virginia, Richmond Division.

                f.       “Defendant’s Counsel” means Ogletree, Deakins, Nash, Smoak & Stewart,
P.C.

                g.       “Dominion” means Dominion Energy, Inc. and its subsidiaries (see Table 1).

                h.     “Settlement Class Member” means the 368 prospective collective members
identified by Class Counsel at the mediation of this matter, who worked on Dominion projects during
the Class Period and were paid straight time for overtime.

                i.       “Effective Date” means the first business day after the Court’s Approval
Order.

                j.      “Fee Award” means the award of attorneys’ fees to be paid to Class Counsel
for the services they rendered to Plaintiffs and the Settlement Class in the Action.

                k.      “Gross Settlement Amount” means the maximum amount that Dominion
shall pay in exchange for the release by Hall and the Settlement Class Members, which is the gross
sum of Three Million Eight Hundred Thousand Dollars and Zero Cents ($3,800,000.00), inclusive of
the employer’s share of FICA and FUTA payroll taxes

              l.     “Settlement Class” or “Settlement Class Members” means all 368 persons for
whom data has been provided prior to mediation.

                m.       “Net Settlement Amount” means the Gross Settlement Amount less: (i)
$20,000.00 for Hall and Dennis Klapatch for their efforts in bringing and prosecuting this matter and
moreover, in exchange for their Released Claims executed in favor of Dominion, VEPCO and SCR;
(ii) the payment of attorneys’ fees to Class Counsel of $1,330,000.00; (iii) the payment of out-of-pocket
costs incurred by Class Counsel which currently are capped at $100,000.00, inclusive of the Settlement
Administrator’s costs related to administering this Settlement; and (iv) a Reserve Fund of $281,091.85.

               n.    “Notice” means the informative packet provided to the Settlement Class
Members regarding the important terms of the settlement. Included in the Notice packet is each
Settlement Class Member’s settlement check, which shall be mailed and emailed.

                o.       “Participating Plaintiff” means all individuals who cash a settlement check.

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                p.      “Parties” means Hall, Dominion, VEPCO, and SCR.

                q.      “Plaintiff” means John Hall.

                r.      “Plaintiffs” means John Hall and the class of persons he purportedly
represents.

                s.      “Qualified Settlement Fund” means the account created to hold settlement
proceeds.

                t.       “Released Claims” applies to the claims of Participating Plaintiffs, only for the
weeks in which they claimed to have worked for Dominion Energy and means any and all claims,
obligations, demands, actions, rights, causes of action and liabilities, whether known or unknown,
against Releasees that were or could have been asserted in the Action based on allegations of unpaid
wages, overtime compensation, liquidated or other damages, unpaid costs, restitution or other
compensation or relief arising under the FLSA and state wage and hour claims, in accordance with
the respective Class Period, for weeks in which the individual claimed to have worked for any Releasee.

                u.     “Releasees” means Dominion Energy, Inc., Virginia Electric and Power
Company, Strategic Contract Resources, LLC, the Staffing Vendors, and the Dominion subsidiaries
identified in Table 1.

                v.      “Settlement Administrator” means JND Legal Administration.

                 w.      “Settlement Check” means the payment that each Settlement Class Member
shall be entitled to receive pursuant to the terms of this Agreement.

              x.      “Staffing Vendors” means the direct employers of the Settlement Class
Members that staffed the Settlement Class Members to Dominion (see Table 2).

                                              RELEASES

       1.      Release. In consideration of the benefits to be received by Hall, Klapatch, and the
Settlement Class Members under this Settlement, upon the Effective Date:

                a.      Each Participating Plaintiff shall be deemed to have released and discharged
the Releasees from the Released Claims in accordance with the Class Period, in weeks when the
individual claimed to have worked for any Releasee. However, Klapatch shall not be deemed to have
released his respective Staffing Vendor, as he shall not receive a share of the settlement other than an
Enhancement Award.

               b.      The Settlement Administrator shall include the following release language on
the back of each settlement check:

        By signing or cashing this check, I affirm my release of Dominion Energy, Inc., its subsidiaries,
        and the Staffing Vendor that supplied me to Dominion Energy, Inc. and/or one of its
        subsidiaries of all Released Claims as defined in the Settlement Agreement approved by the
        Court in Hall, et al., v. Dominion Energy, (“Action”). I affirm that I will not sue or assert any of


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        the Released Claims against any Releasee and I consent to opt-in to the Action and becoming
        a plaintiff in the Action.

               c.       Hall and Klapatch shall be deemed to have released and forever discharged for
Dominion Energy, Inc., Virginia Electric and Power Company, Strategic Contract Resources, LLC,
and the Dominion subsidiaries identified in Table 1 from any and all Released Claims, and, in addition,
shall be deemed to have released Dominion Energy, Inc., Virginia Electric and Power Company,
Strategic Contract Resources, LLC, and the Dominion subsidiaries identified in Table 1 from any and
all claims, demands, rules or regulations, or any other causes of action of whatever nature, whether
known or unknown, including but not limited to Title VII of the Civil Rights Act of 1964, as amended;
Sections 1981 through 1988 of Title 42 of the United States Code, as amended; The Genetic
Information Nondiscrimination Act of 2008 (GINA); The Employee Retirement Income Security Act
of 1974 (“ERISA”) (except for any vested benefits under any tax qualified benefit plan); The Civil
Rights Act of 1991; The Immigration Reform and Control Act; The Americans with Disabilities Act
of 1990; The Family and Medical Leave Act; The Equal Pay Act; The Sarbanes Oxley Act; The Dodd-
Frank Act; The Virginia Human Rights Act and all other state anti-discrimination statutes; the Virginia
Payment of Wage Law and all other state wage and hour laws; or any claim for costs, fees, interest, or
other expenses including attorneys’ fees incurred in any matter; or any and all claims for bonuses,
commissions or any claims for incentive compensation of any type, whether under common law or
policy or contract, and any other federal, state or local human rights, civil rights, wage-hour,
whistleblower, pension or labor laws, rules and/or regulations, public policy, any and all claims that
were asserted or that could have been asserted in the Action, any claim for breach of contract, contract
or tort laws, or any claim arising under common law, such as claims for malicious prosecution,
misrepresentation, defamation, false imprisonment, libel, slander, invasion of privacy, negligence,
claims based on theories of strict liability or respondeat superior, infliction of emotional distress, or
otherwise, or any other action or grievance against Dominion Energy, Inc., Virginia Electric and
Power Company, Strategic Contract Resources, LLC, and the Dominion subsidiaries identified in
Table 1, based upon any conduct occurring through the date of the Court’s Approval Order

                    NOTICE AND SETTLEMENT IMPLEMENTATION

        1.     Court Approval.       All terms and conditions of the Settlement Agreement are
conditional on the approval of the Settlement Agreement by the Court.

       2.      Approval Motion. By August 15, 2019, Plaintiff shall file a Consent Motion for
Approval of Settlement Agreement, requesting that the Court approve the Settlement and allow
Notice to be sent with the settlement Checks to the Settlement Class.

      3.       Notice by Settlement Administrator. The Parties shall agree on a Settlement
Administrator to distribute Notice and the Settlement Checks.

         4.     Class Data. As soon as the Settlement Agreement is signed, Dominion will begin to
undergo reasonable efforts to gather and provide the Settlement Class Members’ names, phone
numbers, email addresses, last known physical addresses, Social Security numbers, dates of
employment, and updated payroll data, to a Settlement Administrator mutually agreeable to the Parties
and Class Counsel, for each Settlement Class Member during the applicable Class Period (“Class
List”).. If a Staffing Vendor refuses to provide the necessary information, the Parties will seek
assistance of the Court. The Settlement Administrator and Class Counsel agree to keep this
information confidential and use it for the sole purpose of administering the settlement.
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        5.     Address Verification. In order to provide the best notice practicable, the Settlement
Administrator, prior to mailing the Settlement Notice to each Settlement Class Member, will run the
list of Known Settlement Class Members through the U.S. Postal Service’s National Change of
Address database (“NCOA”) and perform a skip trace.

         6.    Notice by Mail and Email. Within five (5) business days after receiving the
Settlement Class Members’ final individual settlement calculations, the Settlement Administrator shall
mail and email (if email addresses are available) an agreed upon and approved Notice, along with
settlement check, to each Settlement Class Member. The email shall have a scanned copy of the Notice
and settlement check contained as an attachment. The text of the email shall be agreed upon by the
Parties.

       7.      Handling of Returned Mail. Any Settlement Notice returned to the Settlement
Administrator with a forwarding address shall be re-mailed by the Settlement Administrator within
three (3) business days following receipt of the returned mail. Before remailing, the Settlement
Administrator shall call each Settlement Class Member to ensure the correct address, pursuant to an
agreed upon script.

        8.      Settlement Check Expiry Date. The settlement checks shall be valid for one
hundred and twenty (120) days. The Settlement Administrator will send a reminder postcard after
ninety (90) days regarding any uncashed checks.

         9.     Report by the Settlement Administrator. Approximately ninety (90) days after
the checks are mailed to the Settlement Class Members, the Settlement Administrator shall provide
counsel for the Parties with a final report showing each Settlement Class Members who negotiated
their settlement checks.

                  SETTLEMENT FUNDS AND AWARD CALCULATION

       1.      Gross Settlement Amount.

               a.      Deposit Date. Within thirty (30) business days after Court approval of the
Settlement, Dominion shall ensure that the Gross Settlement Amount is wired to the Settlement
Administrator. Upon receipt by the Settlement Administrator, these funds shall be transferred
immediately to a Qualified Settlement Fund satisfying the requirements of Treasury Regulation Section
1.468B-1. The Settlement Administrator shall provide Dominion with a Section 1.468B-1 Relation
Back Election that meets the requirements of Regulation Section 1.468B-1(j)(2) within five (5)
business days after receipt of the funds. Dominion shall execute and return this document to the
Settlement Administrator which shall be affixed to the initial tax return of the Qualified Settlement
Fund in order to establish the start date of the Qualified Settlement Fund.

               b.     Disbursement by Settlement Administrator. All disbursements shall be
made from the Qualified Settlement Fund. The Settlement Administrator shall be the only entity
authorized to make withdrawals or payments from the Qualified Settlement Fund.

       2.     Payments. The following amounts shall be paid by the Settlement Administrator
from the Gross Settlement Amount:

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                a.      Service Awards and Payment for General Release to Hall and Klapatch.
Hall shall receive Fifteen Thousand Dollars ($15,000.00) and Klapatch shall receive Five Thousand
Dollars ($5,000.00) from the Qualified Settlement Fund for their efforts in bringing and prosecuting
this matter, and in consideration of his general release set forth above. This payment shall issue along
with a Form 1099. This payment shall be made within five (5) business days after receiving the
funds.

               b.      Attorneys’ Fees and Costs.

                        (i)     Class Counsel shall receive attorneys’ fees in an amount of thirty-five
percent of the Gross Settlement Amount, which were negotiated separately from the Net Settlement
Fund, and amount to $1,330,000.00, which will compensate Class Counsel for all work performed in
the Action as of the date of this Settlement Agreement as well as all of the work remaining to be
performed, including but not limited to documenting the Settlement, securing Court approval of the
Settlement, making sure that the Settlement is fairly administered and implemented, and obtaining
final dismissal of the Action. In addition, Class Counsel shall receive reimbursement of their out-of-
pocket costs and settlement administration, which are capped at $100,000.00. These payments of
attorneys’ fees and costs shall be made within five (5) business days after receiving the funds.
Unused costs will be redistributed to the Settlement Class Members.

                        (ii)    The attorneys’ fees and costs paid by Dominion pursuant to this
Agreement shall constitute full satisfaction of Releasees’ obligations to pay amounts to any person,
attorney or law firm for attorneys’ fees or costs in this Action on behalf of Hall and/or any Settlement
Class Member, and shall relieve Releasees from any other claims or liability to any other attorney or
law firm for any attorneys’ fees or costs to which any of them may claim to be entitled on behalf of
Hall or any Settlement Class Member.

                        (iii) A Form 1099 shall be provided to Class Counsel for the payments
made to Class Counsel. Class Counsel shall be solely and legally responsible to pay any and all
applicable taxes on the payment made to them.

               c.       Settlement Administration Costs. Settlement Administration costs shall be
paid from the costs allocated to Class Counsel.

               d.      Settlement Checks to Settlement Class Members. Settlement Checks shall
be made available to the Settlement Class Members.

       3.     No Claim Based Upon Distributions or Payments in Accordance with this
Settlement Agreement. No person shall have any claim against Releasees, Class Counsel, or the
Settlement Administrator based on distributions or payments made in accordance with this Settlement
Agreement.

         4.    Reserve Fund. The Parties negotiated a Reserve Fund of $281,091.85. The Reserve
Fund shall be used by the Parties to resolve claim disputes, late claims, inadvertently omitted
Settlement Class Members, and other related FLSA claims. It shall be distributed by agreement of the
Parties. The Reserve Fund will remain active for 1 year after the funding date.



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         CALCULATION AND DISTRIBUTION OF SETTLEMENT AWARDS

      1.      Settlement Award Eligibility for Settlement Class Members. All Settlement Class
Members shall be allocated a Settlement Award from the Net Settlement Amount. The Settlement
Awards are based on the following formula:

               a.     Class Counsel calculated an award for each Settlement Class Member from the
Net Settlement Amount based on the total number of hours and weeks that the respective Settlement
Class Member claims to have worked during the Class Period.

                b.      Each week overtime hours were worked shall equal one settlement share, and
the total number of settlement shares for all Settlement Class Members will be added together and the
resulting sum will be divided into the Net Settlement Amount to reach a per share dollar figure. That
figure will then be multiplied by each Settlement Class Member’s number of settlement shares to
determine the Settlement Class Member’s potential Settlement Award.

                c.     All Settlement Award determinations shall be based on previously produced
data for Settlement Class Members.

               d.      The settlement award allocation is attached as Table 3.

        2.      Tax Allocation. Fifty percent (50%) of each Settlement Check shall be treated as back
wages, and accordingly, for each Settlement Check, the Settlement Administrator shall effectuate
federal and applicable state income and employment tax withholding as required by law with respect
to 50% of each Settlement Check distributed, and the Settlement Administrator shall ensure payment
of an employer’s share of all required FICA and FUTA taxes on such amounts. Withholding shall be
at the 22% supplemental wage tax rate. Tax payments shall be deposited into the Qualified Settlement
Fund after the Settlement Checks are mailed, in addition to the Gross Settlement Amount. Amounts
withheld will be remitted by the Settlement Administrator from the Qualified Settlement Fund to the
appropriate governmental authorities. The remaining 50% of each Settlement Check shall be treated
as non-wage penalties and liquidated damages, to be reported on an IRS Form 1099, and shall not be
subject to FICA and FUTA withholding taxes.

       3.      Reporting of Settlement Administrator. The Settlement Administrator shall
provide counsel with a final report of all proposed Settlement Checks, at least three (3) days after
receiving the funds, before the Settlement Awards are mailed.

        4.      Issuance of Notice. The Settlement Administrator shall mail and email notices of
Settlement Awards to Known Settlement Class Members within five (5) business days after
receiving the funds or as soon as reasonably practicable. The Settlement Administrator shall then
provide a written certification of such payments to counsel for the Parties. A reminder postcard will
be mailed ninety (90) days after the initial mailing date to advise the Settlement Class Members of
the Settlement Check Expiration Date. The Notice and Post Card are attached as Exhibit 1.

       5.      Settlement Check Expiration Date. All Settlement Award checks shall remain valid
and negotiable for one-hundred twenty (120) days from the date of their issuance and may thereafter
automatically be canceled if not cashed within that time, at which time the right to recover any
Settlement Award will be deemed void and of no further force and effect.

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       6.     Reversion of Unclaimed Funds. All of the unclaimed Net Settlement Funds and
Reserve Funds shall revert to Dominion.

        7.      Triggering the Release. All Settlement Class Members who deposit, endorse, or
otherwise negotiate the Settlement Award shall be considered Participating Plaintiffs and their claims
against Releasees, as discussed in this Settlement Agreement, shall be extinguished.


                                        MISCELLANEOUS

        1.      Court Approval. If the Court has questions about the Settlement Agreement, the
Parties will work together to provide the information necessary to obtain the Court’s ultimate
approval, if necessary. If the Court does not approve any term of the Settlement Agreement, the
Parties will work together in good faith to revise the Settlement Agreement so that it receives approval
by the Court.

        2.      No Admission of Liability. This Settlement Agreement and all related documents
are not and shall not be construed as an admission by Releasees of any fault or liability or wrongdoing.

       3.     Defendants’ Legal Fees. Defendants’ legal fees and expenses in this Action shall be
borne by each Defendant.

         4.      Inadmissibility of Settlement Agreement. Except for purposes of settling this
Action, or enforcing its terms (including that claims were settled and released), resolving an alleged
breach, or for resolution of other tax or legal issues arising from a payment under this Settlement
Agreement, neither this Agreement, nor its terms, nor any document, statement, proceeding or
conduct related to this Agreement, nor any reports or accounts thereof, shall be construed as, offered
or admitted in evidence as, received as, or deemed to be evidence for any purpose adverse to the
Parties, including, without limitation, evidence of a presumption, concession, indication or admission
by any of the Parties of any liability, fault, wrongdoing, omission, concession or damage in this Action
or in any other proceeding.

        5.      Computation of Time. For purposes of this Agreement, if the prescribed time
period in which to complete any required or permitted action expires on a Saturday, Sunday, or legal
holiday (as defined by FED. R. CIV. P. 6(a)(6)), such time period shall be continued to the following
business day.

        6.      Interim Stay of Proceedings. The Parties agree to hold in abeyance all proceedings
in the Action, except such proceedings necessary to implement and complete the Settlement.

        7.      Amendment or Modification. This Agreement may be amended or modified only
by a written instrument signed by counsel for all Parties or their successors in interest.

       8.      Entire Settlement Agreement. This Agreement constitutes the entire agreement
among the Parties, and no oral or written representations, warranties or inducements have been made
to any Party concerning this Agreement other than the representations, warranties, and covenants
contained and memorialized in such documents. All prior or contemporaneous negotiations,
memoranda, agreements, understandings, and representations, whether written or oral, are expressly
superseded hereby and are of no further force and effect. Each of the Parties acknowledges that they
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have not relied on any promise, representation or warranty, express or implied, not contained in this
Agreement.

         9.      Authorization to Enter Into Settlement Agreement. Counsel for all Parties
warrant and represent that they are expressly authorized by the Parties whom they represent to enter
into this Agreement and to take all appropriate action required or permitted to be taken by such Parties
pursuant to this Agreement to effectuate its terms, and to execute any other documents required to
effectuate the terms of this Agreement. The Parties and their counsel shall cooperate with each other
and use their best efforts to effect the implementation of the Agreement. In the event that the Parties
are unable to reach resolution on the form or content of any document needed to implement this
Agreement, or on any supplemental provisions or actions that may become necessary to effectuate
the terms of this Agreement, the Parties shall seek the assistance of the mediator, Michael Dickstein,
or the Court to resolve such disagreement.

        10.      Binding on Successors and Assigns. This Agreement shall be binding upon, and
inure to the benefit of Plaintiff, Defendants, the Settlement Class Members and their heirs,
beneficiaries, executors, administrators, successors, transferees, successors, assigns, or any corporation
or any entity with which any party may merge, consolidate or reorganize.

        11.      Counterparts. This Agreement may be executed in one or more counterparts,
including by facsimile or email. All executed counterparts and each of them shall be deemed to be
one and the same instrument. All executed copies of this Agreement, and photocopies thereof
(including facsimile and/or emailed copies of the signature pages), shall have the same force and effect
and shall be as legally binding and enforceable as the original.

       12.      No Signature Required by Eligible Class Members. Only Hall will be required to
execute this Settlement Agreement. The Settlement Notice will advise all Known Settlement Class
Members of the binding nature of the release and such shall have the same force and effect as if this
Settlement Agreement were executed by each Participating Plaintiff.

        13.     Cooperation and Drafting. The Parties have cooperated in the drafting and
preparation of this Agreement; hence the drafting of this Agreement shall not be construed against
any of the Parties. The Parties agree that the terms and conditions of this Agreement were negotiated
at arm’s length and in good faith by the Parties, and reflect a settlement that was reached voluntarily
based upon adequate information and sufficient discovery and after consultation with experienced
legal counsel.

         14.     No Press Release. Neither party (including Defendants’ Counsel and Class Counsel)
shall issue a press release regarding this Agreement or the Settlement of the Action. If the Parties are
contacted by the press with regard to this Action or the Settlement, they will indicate only that the
Parties reached a mutually satisfactory resolution of the Action.

       15.     Governing Law. All terms of this Settlement Agreement and the exhibits hereto shall
be governed by and interpreted according to the laws of the Commonwealth of Virginia and the
United States of America, where applicable.

        16.      Jurisdiction of the Court. The Court shall retain jurisdiction with respect to the
interpretation, implementation, and enforcement of the terms of this Settlement and all orders and
judgments entered in connection therewith, and the Parties and their counsel submit to the jurisdiction
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of the Court for this purpose.

      IN WITNESS WHEREOF, the Parties and their counsel have executed this Settlement
Agreement as follows:




PLAINTIFF:             _______________________________
                       John Hall (Aug 15, 2019)                     Aug
                                                                 Date:   15, 2019
                                                                       ____,  2019
                       John Hall




DEFENDANTS:            ______________________________            Date: ____, 2019
                       By:

                       ______________________________
                       Printed Name of Dominion Representative

                       ______________________________            Date: ____, 2019
                       By:

                       ______________________________
                       Printed Name of VEPCO Representative

                       ______________________________            Date: ____, 2019
                       By:

                       ______________________________
                       Printed Name of SCR Representative

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                        EXHIBIT 1
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   IMPORTANT NOTICE REGARDING UNPAID OVERTIME
   SETTLEMENT WITH DOMINION ENERGY, INC., ET AL .

To:    «First_Name» «Last_Name»

Re:    Your Right to Overtime Pay from Settlement with Dominion Energy, Inc., et al .

 THE AMOUNT OF THE ENCLOSED SETTLEMENT AWARD: $__________________


                    WHY AM I GETTING THIS NOTICE?
You are getting this notice and check because a lawsuit against Dominion Energy, Inc., Virginia
Electric and Power Company, and Strategic Contract Resources, LLC (collectively, “Dominion”)
settled. The lawsuit alleged that Plaintiff and certain hourly employees worked on Dominion projects,
regularly worked overtime, and were paid straight time for overtime. Plaintiff argued that even though
he was classified as exempt, he was not guaranteed a salary, and therefore no exemption applied.

Dominion denies these allegations and contends that you were properly classified as an exempt
employee and contends it paid you lawfully and properly for your work.

THIS NOTICE IS TO INFORM YOU THAT YOU ARE ENTITLED TO RECEIVE MONEY
FROM A SETTLEMENT IN THIS CASE, AS DESCRIBED BELOW, IN THE SUM OF
[SETTLEMENT SHARE]. YOU ARE NOT REQUIRED TO DO ANYTHING TO
RECEIVE YOUR SHARE OF THE SETTLEMENT OTHER THAN ENDORSING AND
DEPOSITING THE SETTLEMENT CHECK, AND AGREEING TO THE TERMS SET
FORTH ON THE BACK OF THE CHECK, AS DESCRIBED BELOW. THE
SETTLEMENT CHECK IS ENCLOSED WITH THIS NOTICE.

                  YOUR SHARE OF THE SETTLEMENT.
Your settlement payment was based on your work history with Dominion projects through which you
performed services for Dominion, including the number of weeks and hours you worked in the
relevant period.

Your settlement payment is: $«AMOUNT». You have 120 days to endorse and deposit this check. If
you don’t cash the check, you will not be entitled to any compensation from Dominion or the Released
Parties.

                 WHAT HAPPENS IF I CASH MY CHECK?
In exchange for endorsing and agreeing to the language on the back of your check, cashing your check
and obtaining your Settlement Award, you have agreed to join the unpaid overtime lawsuit against
Dominion and to the following release of claims:
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        In consideration for the payment of my settlement share, I am releasing all
        claims, obligations, demands, actions, rights, causes of action and liabilities,
        whether known or unknown, against Releasees (defined below) that were or
        could have been asserted in this Action based on allegations of unpaid wages,
        overtime compensation, liquidated or other damages, unpaid costs, restitution
        or other compensation or relief arising under the FLSA and state wage and hour
        claims, in accordance with the respective Class Period for the time or weeks in
        which I worked for Releasees.

“Releasees” means Dominion Energy, Inc., Virginia Electric and Power Company, Strategic Contract
Resources, LLC, the Staffing Vendors, and the Dominion subsidiaries. You can get information on
whether they are a Released Party by contacting Class Counsel.

You will be acknowledging that you are represented by Josephson Dunlap, LLP, Bruckner Burch
PLLC, and Butler Royals, PLC (collectively “Class Counsel”) and that you will be bound by the terms
of the Professional Services Agreement signed by the Named Plaintiff, John Hall, in this case.

You will not have to pay Class Counsel any money directly. Dominion is paying attorneys’ fees and
costs as part of the settlement.


                       WHAT DOES THE COURT THINK?
While the Court approved this settlement, the Court did not determine Dominion (or anyone else)
did anything wrong. The Court did not determine you are owed any money. Instead, this is a settlement
payment which the Court approved as fair and reasonable in light of the claims and defenses asserted.

                                    CONFIDENTIALITY
If you cash your check, you agree to keep the amount you are paid and all the terms of the settlement
confidential and not disclose these to third parties, except you may disclose it to your spouse, or your
tax advisor, or your legal counsel.


                        WHAT DOES DOMINION THINK?
Dominion believes this settlement is a business solution to this dispute. Dominion has, at all times,
disputed that it or its subsidiaries violated any law. It believes its pay practices are fully compliant with
all laws and that the class members are not employees of Dominion.

                   WHAT IF I HAVE OTHER QUESTIONS?
This notice is only a summary. If you have additional questions, please call Class Counsel at [] or the
Settlement Administrator at ___________. The 120-day deadline to cash your check will not be
extended under any circumstances.
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If you have questions, please call or email Michael Josephson or Richard Schreiber at Josephson
Dunlap LLP, 11 Greenway Plaza, Suite 3050, Houston Texas 77046 (713) 352-1100 or
info@mybackwages.com

Please do not contact the Court regarding this settlement. The Court must remain neutral in
this matter and cannot offer you advice.
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        IMPORTANT REMINDER REGARDING DOMINION UNPAID OVERTIME
                             SETTLEMENT

 Notice materials with settlement payments were recently mailed to you regarding the settlement of a
 lawsuit for alleged unpaid overtime brought against Dominion on behalf of certain employees who
 worked on Dominion projects alleging violations of the Fair Labor Standards Act. Records indicate
 that you are eligible to receive money under the settlement.

 If you want to claim your pro rata share of money from the settlement, you must endorse the check
 contained in the notice materials on or before __________, 201__. If you desire another copy of
 the notice materials, please contact the Settlement Administrator at the number listed below:
                                     _______________________
                                         _________________
                                                 ******
                                   Or by E-Mail: ______________


                                                                                          39655569.1




 OVERTIME LAWSUIT AGAINST DOMINION
 JOSEPHSON DUNLAP, LLP
 11 GREENWAY PLAZA, SUITE 3050
 HOUSTON, TEXAS 77046

 IMPORTANT LEGAL REMINDER

                                «FIRSTNAME» «LASTNAME»
                                «ADDRESS1»
                                «ADDRESS2»
                                «CITY» «STATE» «ZIP»
                                «COUNTRY»
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                    TABLE 1 – DOMINION ENERGY, INC. SUBSIDIARIES

96WI 8me LLC                                Cottonwood Solar, LLC

Alamo Solar, LLC                            Cove Point GP Holding Company, LLC

Align RNG Grady Road, LLC                   Dominion ACP Holding, Inc.

Align RNG North Carolina, LLC               Dominion Alternative Energy Holdings, Inc.

Align RNG Utah, LLC                         Dominion Atlantic Coast Pipeline, LLC

Align RNG Virginia, LLC                     Dominion Brine, LLC

Align RNG, LLC                              Dominion Capital REMIC, Inc.

Atlantic Coast Pipeline, LLC                Dominion Capital Ventures Corporation

Azalea Solar, LLC                           Dominion Capital, Inc.

Brandon Shores Coaltech LLC                 Dominion Cogen WV, Inc.

BrightSuite Home, LLC                       Dominion Cove Point, Inc.

BrightSuite Solar, LLC                      Dominion Energy Carolina Gas Services, Inc.

BrightSuite, Inc.                           Dominion Energy Carolina Gas
                                            Transmission, LLC
Brunner Island Refined Coal LLC
                                            Dominion Energy Cove Point LNG, LP
Buckingham Solar I LLC
                                            Dominion Energy Field Services, Inc.
Canadys Refined Coal, LLC
                                            Dominion Energy Fuel Services, Inc.
Cardinal Pipeline Company, LLC
                                            Dominion Energy Gas Holdings, LLC
Catalina Solar 2, LLC
                                            Dominion Energy Generation Marketing, Inc.
CID Solar, LLC
                                            Dominion Energy Kewaunee, Inc.
Clean Energy Enterprises, Inc.
                                            Dominion Energy Marketplace, LLC
Clearsky Power & Technology Fund I, LLC
                                            Dominion Energy Midstream GP, LLC
Clipperton Holdings LLC
                                            Dominion Energy Midstream Partners, LP
CNG Coal Company
                                            Dominion Energy Nuclear Connecticut, Inc.
CNG Power Services Corporation
                                            Dominion Energy Overthrust Pipeline, LLC
Correctional Solar LLC
                                            Dominion Energy Payroll Company, Inc.
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Dominion Energy Questar Corporation              Dominion High Voltage MidAtlantic, Inc.

Dominion Energy Questar Pipeline Services,       Dominion Investments, Inc.
Inc.
                                                 Dominion Iroquois, Inc.
Dominion Energy Questar Pipeline, LLC
                                                 Dominion Keystone Pipeline Holdings, Inc.
Dominion Energy RNG Holdings, Inc.
                                                 Dominion Keystone Pipeline, LLC
Dominion Energy Services, Inc.
                                                 Dominion Land Management Company -
Dominion Energy Solar CA, LLC                    Williamsburg

Dominion Energy Solutions, Inc.                  Dominion Lands - Williamsburg, Inc.

Dominion Energy South Carolina, Inc.             Dominion Lands, Inc.

Dominion Energy Southeast Services, Inc.         Dominion MLP Holding Company II, Inc.

Dominion Energy Technical Solutions, Inc.        Dominion MLP Holding Company III, Inc.

Dominion Energy Technologies II, Inc.            Dominion MLP Holding Company, LLC

Dominion Energy Technologies, Inc.               Dominion Modular LNG Holdings, Inc.

Dominion Energy Terminal Company, Inc.           Dominion Mt. Storm Wind, LLC

Dominion Energy Transmission, Inc.               Dominion North Star Generation, Inc.

Dominion Energy Wexpro Services Company          Dominion Nuclear Projects, Inc.

Dominion Equipment III, Inc.                     Dominion Oklahoma Texas Exploration &
                                                 Production, Inc.
Dominion Equipment, Inc.
                                                 Dominion Person, Inc.
Dominion Fairless Hills, Inc.
                                                 Dominion Privatization Florida, LLC
Dominion First Source, LLC
                                                 Dominion Privatization Georgia, LLC
Dominion Fowler Ridge Wind, LLC
                                                 Dominion Privatization Holdings, Inc.
Dominion Gas Projects Company, LLC
                                                 Dominion Privatization Kentucky, LLC
Dominion Gathering & Processing, Inc.
                                                 Dominion Privatization South Carolina, LLC
Dominion Generation, Inc.
                                                 Dominion Privatization Texas, LLC
Dominion Greenbrier, Inc.
                                                 Dominion Privatization Virginia, LLC
Dominion High Voltage Holdings, Inc.


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Dominion Products and Services, Inc.       Dominion Wind Development, LLC

Dominion Projects Services, Inc.           Dominion Wind Projects, Inc.

Dominion Resources Capital Trust III       Eagle Holdco Solar, LLC

Dominion Solar Construction and            Eagle Solar, LLC
Maintenance, LLC
                                           Eastern Shore Solar LLC
Dominion Solar Gen-Tie, LLC
                                           Enterprise Solar, LLC
Dominion Solar Holdings I, LLC
                                           Escalante Solar I, LLC
Dominion Solar Holdings II, LLC
                                           Escalante Solar II, LLC
Dominion Solar Holdings III, LLC
                                           Escalante Solar III, LLC
Dominion Solar Holdings IV, LLC
                                           Farmington Properties, Inc.
Dominion Solar Projects A, Inc.
                                           First Dominion Capital, L.L.C.
Dominion Solar Projects B, Inc.
                                           Four Brothers Solar, LLC
Dominion Solar Projects C, Inc.
                                           Fowler I Holdings LLC
Dominion Solar Projects D, Inc.
                                           Fowler Ridge Wind Farm LLC
Dominion Solar Projects I, Inc.
                                           Fremont Farm, LLC
Dominion Solar Projects II, Inc.
                                           Governor's Land Associates
Dominion Solar Projects III, Inc.
                                           Granite Mountain Holdings, LLC
Dominion Solar Projects IV, Inc.
                                           Granite Mountain Solar East, LLC
Dominion Solar Projects V, Inc.
                                           Granite Mountain Solar West, LLC
Dominion Solar Projects VI, Inc.
                                           Greenbrier Marketing Company, LLC
Dominion Solar Projects VII, Inc.
                                           Greenbrier Pipeline Company, LLC
Dominion Solar Services, Inc.
                                           Greensville County Solar Project, LLC
Dominion State Line, LLC
                                           Hecate Energy Cherrydale LLC
Dominion Systems Group, LLC
                                           Hecate Energy Clarke County LLC
Dominion Voltage, Inc.
                                           Hope Gas, Inc.
Dominion Wholesale, Inc.


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Imperial Valley Solar Company (IVSC) 2,       Pikeville Farm, LLC
LLC
                                              Pine Needle LNG Company, LLC
Indy Solar Development, LLC
                                              Prairie Fork Wind Farm, LLC
Indy Solar I, LLC
                                              PSNC Blue Ridge Corporation
Indy Solar II, LLC
                                              PSNC Cardinal Pipeline Company
Indy Solar III, LLC
                                              PSNC Southgate, LLC
Innovative Solar 37, LLC
                                              Public Service Company of North Carolina,
Iron Springs Holdings, LLC                    Incorporated

Iron Springs Solar, LLC                       QPC Holding Company

Iroquois Gas Transmission System L.P.         Questar Energy Services, Inc.

Iroquois GP Holding Company, LLC              Questar Field Services, LLC

Louisa Refined Coal, LLC                      Questar Gas Company

Louisiana Hydroelectric Capital, LLC          Questar InfoComm, Inc.

Magnolia Holding Company LLC                  Questar Southern Trails Pipeline Company

Maricopa West Solar PV, LLC                   Questar White River Hub, LLC

Moffett Solar 1, LLC                          RE Adams East LLC

Moorings Farm 2, LLC                          RE Camelot LLC

MPH Energy Midco, LP                          RE Columbia Two LLC

Mulberry Farm, LLC                            RE Columbia, LLC

Mustang Solar, LLC                            RE Kansas LLC

NE Hub Partners, L.L.C.                       RE Kent South LLC

NE Hub Partners, L.P.                         RE Old River One LLC

NiCHe LNG, LLC                                RePower South, LLC

NiCHe Storage Solutions, LLC                  REV LNG SSL BC LLC

NYSEARCH Robotics, LLC                        Richland Solar Center, LLC

Pavant Solar LLC                              Ridgeland Solar Farm I, LLC


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Sappony Solar LLC                             Virginia Power Nuclear Services Company

SBL Holdco, LLC                               Virginia Power Services Energy Corp., Inc.

SCANA Communications Holdings, Inc.           Virginia Power Services, LLC

SCANA Corporate Security Services, Inc.       Virginia Solar 2017 Projects LLC

SCANA Corporation                             VP Property, Inc.

SCANA Energy Marketing, Inc.                  Wakefield Solar, LLC

SCANA Pharmacy LLC                            Wexpro Company

Scott-II Solar LLC                            Wexpro Development Company

Selmer Farm, LLC                              Wexpro II Company

Siler Solar, LLC                              White River Hub, LLC

Somers Solar Center, LLC                      Wilshire Holdings LLC

South Carolina Fuel Company, Inc.             Wilshire Technologies, LLC

South Carolina Generating Company, Inc.

Southampton Solar LLC

SRFI, LLC

Stonehouse Development Company, LLC

Summit Farms Solar, LLC

TA - Acacia, LLC

The East Ohio Gas Company

Tioga Properties, LLC

Tredegar Solar Fund I, LLC

TWE Myrtle Solar Project, LLC

Vidalia Gichner Holdings, Inc.

Virginia Electric and Power Company
                                                                                  39507302.1
Virginia Power Fuel Corporation



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                                    Table 2 – Staffing Vendors

  Absolute Consulting, Inc.                         Mesa Associates LLC
  AECOM Technology Corp.                            Metro Systems, Inc.
  Aegis Environmental Inc.                          Morton Consulting, LLC
  AgileOne                                          Mott McDonald, LLC
  APC by Schneider Electric                         Myta Technologies, LLC.
  AppleOne Employment                               National Computing Group
  Astyra Corp.                                      Navtech
  Atlantic Resource Group, Inc.                     NES Global Talent
  BAR Scheduling, LLC                               Nuclear Energy Consultants
  BranCore Technologies, LLC                        On-Board Services, Inc.
  Bridge Energy Group                               Planet Forward
  Capricorn Systems, Inc.                           Point Power, Inc.
  Core Consulting, Inc.                             Progressive Design, Inc.
  Corestaff Services                                Progressive Global Energy
  Data Concepts, Inc.                               Sargent & Lundy, LLC
  Defined Source Cooperative Inc.                   SLAIT Consulting, LLC
  Enercon Services, Inc.                            Spectraforce Technologies, Inc.
  Engstorm, Inc                                     Spencer Ogden, Ltd.
  Equity Personnel                                  Stefanini, Inc.
  Fahrenheit IT, Inc.                               Strategic Contract Resources, Inc.
  FDR Safety LLC                                    TalentBurst, Inc.
  FootBridge Energy Services                        TEC Industrial
  Key Personnel, Inc.                               Techead
  LanceSoft, Inc.                                   Total Design Services, Inc.
  Leading Edge, Inc.                                Work Management Inc.
  Maconit, Inc.                                     Zachry Nuclear Engineering Inc.
  Managed Staffing, Inc.



                                                                                         38132878.1
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                          Table 3 – Settlement Allocations


 Name                                     Net Settlement Amount
 1                                        10,783.93
 2                                        7,235.84
 3                                        30,828.07
 4                                        8,211.54
 66021                                    6,978.44
 271591178                                982.40
 479467550                                18,058.81
 2813879651                               589.38
 3779483770                               1,270.25
 3785081781                               1,230.16
 3915280350                               53.07
 4393341894                               2,369.17
 5402550905                               3,714.80
 6271974806                               1,297.09
 7276163991                               19,663.33
 8109242409                               694.04
 9195708066                               96.73
 Adams, Ian J                             212.11
 Ade, Haritha                             2,222.61
 Aman, Dave                               6,009.62
 Andreadakis, Kleanthis                   1,243.68
 Ashrook, Arthur                          20,555.79
 Ataee, Amir                              45,575.10
 Awasarmol, Pramod                        3,727.39
 Badarinatha, Niji                        21,160.22
 Bagga, Anil                              352.72
 Baig, Moe                                519.84
 Barth, Curtis                            129.32
 Bass, Shawn                              1,220.75
 Bean, David                              2,670.50
 Beauchamp, Dan                           7,624.23
 Bethea, Candace                          1,148.99
 Bilgin, Murat                            847.49
 Birnie, Ian                              8,962.70
 Bishop, Geoffrey                         306.10
 Blankenship, Michelle                    96.99
 Bohan, Richard                           4,198.09
 Bond, Bruce                              14,064.50
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 Boulanger, James                      43,285.14
 Bowes, Scot                           13,864.57
 Brackett, Steve                       169.33
 Branch, Eric                          1,330.42
 Brock, Janet                          3,093.70
 Brooks, Chris                         34,206.13
 Brooks, Gregory T                     9,450.17
 Broom, Arthur                         11,921.28
 Bruce, Edward D                       8,157.02
 Buffardi, Stephen                     2,424.67
 Burgess, Kristopher                   6,526.40
 Burleson, Jerry W                     2,525.25
 Butler, Keith                         1,115.80
 Butler, William P                     5,666.53
 Cantrell, David                       43.11
 Canupp, Charles                       767.81
 Carignan, Robert                      3,338.86
 Castillo, David L                     188.59
 Cezintseva, Maria Y                   13,273.28
 Chapple, Dawn                         2,204.85
 Chen, En D                            5,905.41
 Chenault, Whit                        920.90
 Choudhary, Aparajita                  4,793.54
 Clancy, William T                     16,317.07
 Coffman, Clifton                      361.23
 Coleman, Tresseline                   215.76
 Conlan, Rusty                         12,039.15
 Cooper, Charles                       568.99
 Corbett, Breon                        4,787.71
 Cordle, Cameron                       784.20
 Cox, Tomika                           22.00
 Crider, Hasani                        280.18
 Cristie, Prathik                      1,817.15
 Cronin, Chris                         24,743.49
 Curley, John                          6,317.07
 CW                                    1,324.03
 Davis, William M.                     1,427.24
 Daye, Barbara                         647.10
 Delfico, Joseph                       3,495.44
 Dev, Virochan                         223.26
 Dobson, Andrew                        4,094.99
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 Drab, Francis                         1,400.92
 Draus, Lawrence                       358.20
 Durham, Carl                          8,183.70
 Duyvestyn, Glenn                      184.53
 Edmiston, Jody                        1,508.68
 Elam, Michael                         2,447.96
 Engle, Angela                         2,963.48
 Engle, Lindsay                        40.41
 Evans, Julie W                        16,996.02
 Ewin, John                            3,585.42
 Farr, George                          6,334.44
 Farrow, Chanae                        1,128.26
 Feagley, Matthew                      1,263.16
 Fecteau, Thomas G                     3,771.70
 Fernandez, Gilbert                    3,318.60
 Foderingham Jr., Rogelio              407.03
 Fordyce, Stephen                      170.26
 Foster, Brad                          27,910.61
 Frame, Matthew                        202.06
 Fremin, Jonathan                      735.91
 Gaal, David                           59.90
 Gandhavalli, Ben                      1,931.51
 Gardiakos, Vasiliki                   1,209.66
 George, Pryia                         8,295.10
 Gilbert, Michele                      92.95
 Gille, Kathleen                       9,057.73
 Glock, Neil                           128.87
 Gokey, William                        729.20
 Goldstein, David                      217.20
 Gore, Thomas                          4,252.15
 Graf, James                           6,088.92
 Graham, John                          561.09
 Griffis, Lee                          4,350.39
 Grillo, Ryan                          3,410.25
 Grindle, Donald E                     2,120.01
 Gunuganti, Venu                       246.96
 Guo, Zhihao                           21.10
 Gupta, Nidhi                          370.67
 Hall, John                            890.84
 Gupta, Sonal                          511.99
 Hamilton, Jerry                       1,796.05
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 Hammerschmidt, Sarah                  390.89
 Hammond, Joey                         9,579.57
 Hancock, Ruth                         1,451.34
 Hannon, Daniel                        13,702.84
 Hansard, Amy                          3,502.53
 Hare, Michael                         771.76
 Harney, Renee                         0.22
 Hasenstab, Michael                    4,546.25
 Hawkins, Ralph                        17,049.05
 Hearn, Celeste L                      2,860.21
 Herkamp, Paul                         5,304.77
 Hill, Jerry                           8,710.17
 Holmes, Christian                     1,160.25
 Hoover, Donald R                      1,141.61
 Hunter, Harry                         243.14
 Irving, Lewis P                       35,905.38
 Irwin, Michael                        93.39
 Jackson, Elizabeth                    3.88
 Jagadeesh, Sindoor                    1,072.81
 Jamison, Michael                      20,618.65
 Janapareddy, Satya Siva Kishore       15,172.13
 Jeter Jr, Hatcher                     13,270.31
 Jha, Sunil                            5,956.30
 Johnson, Patrick                      5,592.05
 Jones, Edward H.                      2.64
 Jones, Hollace A                      6,903.29
 Joyce, Ryan T                         581.73
 Judy, Jeffrey                         329.30
 Kadar Jr, Stephen                     2,644.68
 Kascsak, Rebecca                      816.30
 Kashalkar, Gaurav                     5,013.45
 KH                                    514.84
 Kirkland, Larry                       172.87
 Kjar, Melanie                         118.20
 Klempa, David                         61.74
 Knickerbocker, David W                1,802.94
 Knight, James                         11,275.78
 Knower, Thomas M                      7,956.60
 Kodari, Narasimha                     3,075.15
 Kothari, Ankit                        23,239.10
 Kotsch, Thomas                        4,625.68
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 Kumar, Sumit                          3,219.50
 Lambert, Bradley                      3,482.09
 Lanceta, Dennis                       723.81
 Layton, Sheri                         814.62
 Leonard, Tacarci                      914.64
 Levario, Matthew                      54,053.92
 Lewis, Billy                          9,806.43
 Lewis, Randy                          11,412.10
 Lightfoot, Jeronn L                   42,118.27
 Linzenmeyer, Mark A                   9,221.60
 Livingston, Dean                      341.68
 Lo Wei Cheng, Jerry                   418.55
 Long, Bryant                          157.56
 Long, Daniel                          8,477.22
 Loy, Justin                           307.12
 Machado, Greg                         22,822.76
 Maddox, Bryan R                       8,997.29
 Madison, Guy                          1,702.66
 Mangamuri, Surendra                   465.38
 Martin, James                         4,467.81
 Martin, Sharon                        2,871.23
 Matejowsky, Sean                      1,879.06
 Matthews, Craig                       5,368.28
 Maurya, Sanjay                        5,402.52
 McCormick, Steven                     3,436.78
 McDonald, Christiaanna C              14.03
 McPhee, Kevin                         6,005.09
 Meade, Claude                         6,424.11
 Mercier, Daniel                       7,799.35
 Miller, Amy                           1,097.57
 Miller, James                         38,154.39
 Minor, Jamarl                         2,381.56
 Mitchell, Tammy                       1,760.31
 Mittal, Saurabh                       6,121.10
 MO                                    1,717.11
 Mohanty, Sitesh                       9,014.63
 Montaperto, Randy                     68,339.70
 Mooney, Christopher                   170.02
 Moore, Arbedella D                    485.83
 Moore, Donald Eugene                  4,072.84
 Morelli, James                        23,228.31
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 Morgan, Max                           6,144.18
 Morrison, Greg                        148.85
 Moss, Gerald                          11,306.46
 Moyer, David L                        11,917.25
 Muller, Christopher                   305.13
 Mullooly, Kimberly J                  478.93
 Nagabandi, Chandra                    846.30
 Naik, Divakara                        2,173.70
 Naus, Richard                         223.84
 Naveed Ashraf, Muhammad               520.41
 Nayak, Sachin                         3,852.36
 Nayak, Seema                          182.30
 Nelson, Dale J                        33,396.65
 Neppala, Usha                         712.72
 Nevins, Kyle                          881.32
 Nimmo, Stephan                        1,441.33
 Nowak, Wojciech                       6,050.44
 Ocran Properties Inc                  1,378.49
 Oliver, Robert                        1,745.76
 Olvera, Ramon                         3,017.36
 Oneil, Brian                          20.21
 Orcholski, Michael                    34,403.34
 Ortiz, Damien                         8,151.04
 Otero, Adam D                         1,021.56
 Owen, James J                         1,126.29
 Pace, George                          86.43
 Pajjuril, Sandhya                     671.27
 Patel, Amita                          5,430.14
 Patel, Chirag S.                      8,586.79
 Patel, Niraj                          11,047.12
 Patterson, Charles A                  2,092.84
 Petta, Christopher                    3,284.82
 Pexton, Donald                        11,907.81
 Piccolo, Joseph                       1,733.22
 Pickelhaupt Jr, John                  373.93
 Plummer, James N.                     3,523.97
 Polling, Kelly                        1,612.40
 Powers, Anthony                       17,842.35
 Price, Dexter                         2,076.23
 Radziwilko, Kasia                     355.62
 Ramberg, Allen                        11,696.89
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 Rana, Dhaval R                        3,156.04
 Ravipati, Sasikala                    9,019.93
 Reasons, Preston                      9,623.91
 Reust, Nancy                          727.15
 Rhodes, Robert L.                     1,394.18
 Richards, James                       29,502.73
 Riegel, Amanda                        953.27
 Robinson, Edward                      4,251.03
 Robinson, Jessica                     395.13
 Robinson, Theresa R                   1,412.14
 Robles, Jorge                         17,707.67
 Rockwell, Norman K.                   8,597.70
 Rogers, Kathryn                       61.07
 Roles, Agee                           9,100.09
 Ropelewski, Karl                      116.57
 Roscoe, Chad                          11,415.87
 Rosen, Jeremy                         117.30
 Rubino, Martin                        1,354.41
 Ruiz, Katrina                         24.25
 Ryder, Timothy                        7,351.23
 Sagiraju, Subbaraju                   4,253.05
 Sali, Kamala                          76.75
 Samaniego, Kenneth                    9.43
 Sanderson, Robert                     3,290.81
 Sandiford, Aeisha                     75.43
 Schneider, Joseph                     215.53
 Sciantarelli, Paul                    16,447.80
 Scott, Darlene G                      690.83
 Seay, Marianne A                      269.41
 Severns, Patrick                      158.05
 Shah, Chirag                          379.42
 Shah, Sanjiv S                        198.55
 Shaik, Mohammed Ali                   12,615.94
 Sheridan, Patrick                     21.50
 Shields, Michael                      190.38
 Shipe, William L                      4,645.09
 Siddiqui, Adnan                       1,359.11
 Sinclair, Brendan                     6,457.94
 Singh, Ashwani                        2,513.15
 Siromoni, Sunitha                     302.24
 Slade,Jason                           1,450.31
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 Smith, Chris                          1,869.20
 Smith, Jordon W                       323.29
 Smith, Robert                         390.52
 Smith, Sarah                          409.50
 Smith, Thomas                         3,549.44
 Snead, Devan                          25.56
 Snively, Lynn                         11,291.26
 Socha, Edwin                          16.16
 Solomon, Grant                        466.00
 Somisetty, Ankammarao                 2,611.69
 Spackman, Chris                       904.31
 Spratt, Jedidiah                      7,034.77
 Stephens, Tricia                      29.75
 Stewart, Donald                       9,764.71
 Stewart, Keith A                      2,727.14
 Stowers, Danny                        316.10
 Strickland, Matthew W                 22,075.32
 Surprenant, Bruce                     4,958.78
 Sutterfield, Sara                     5,638.06
 Szostak, Bryan                        39,348.08
 Tetreault, Jedd M                     17,787.93
 Thekudalai, Kalungumeera              17,247.77
 Thiele, Timothy                       1,018.57
 Thomas, Deborah M.                    14,692.57
 Thomas, Deitra                        5,309.57
 Thompson Jr, Francis                  2,692.38
 Thompson, D Marshall                  5,083.90
 Thompson, Eugene Gregory              6,676.71
 Thompson, Robert                      121.23
 Thornbrue, Michael                    17,172.93
 Thulasi, Maha                         8.81
 Tindall, James                        4,076.53
 Toft, James E                         4,601.96
 Tolbert, Ronald E                     1,268.24
 Torres, Victor                        471.46
 Treglown, Heath                       9,824.24
 Tripuraneni, Jyotsna                  92.39
 Trivedi, Piyush                       5,115.87
 Tschirhart, Mary                      68.88
 Turpin, David                         2,558.47
 Tusing, Bruce W                       9,223.68
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 Ubinas, Eduardo                       124.34
 Unterberger, Charles                  9,934.40
 Vecchio, Jennifer                     581.95
 Venkatachalam, Gopalakrishnan         1,205.08
 Voss, John                            14,514.31
 Wade, Kenneth O                       5,921.92
 Wade, Linda F                         3,719.17
 Walker, Cathi                         850.61
 Wall, Christopher                     4,845.06
 Wall, Clarence                        57.58
 Wallace, Nicholas A                   2,832.72
 Waters Jr., Raymond L                 1,750.27
 Waters, Daniel                        3,323.01
 Weimer, Bryan K                       4,581.07
 Wells, Chiquita                       321.04
 Wells, William                        1,131.64
 Were, Fred                            2,064.07
 White, Chad                           8,890.45
 White, Deborah                        3,661.70
 Wiernicki, Maurice                    28,345.06
 Wilda, Douglas                        151.44
 Wilkerson, Donald L                   12,569.34
 Wilson, Clyde                         200.31
 Wood, Bruce                           1,255.65
 Wood, Jeff                            9,113.61
 Wood, Peyton                          12,553.31
 Woods, Sherry                         6,324.34
 Wright, Duane                         6,450.06
 Xie, Yunjuan                          1,444.00
 Yelich IV, Louis James                1,212.33
 Young, Donnie M                       3,877.75
 Younger, Shawn                        666.33
 Zawada, Mark A                        22,091.79
 Zuvic, Drina                          10,107.10
 Total                                 2,068,908.15
